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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                       Criminal No. 14-mj-1024 (MJD)
_____________________________________________________________________

United States of America,
                                                       DEFENDANT’S MEMORANDUM
             Plaintiff,                                IN SUPPORT OF HIS MOTION
                                                       IN OPPOSITION TO THE
v.                                                     PLAINTIFF’S MOTION FOR
                                                       REVIEW AND REVOCATION OF
Abdullahi Yusuf,                                       ORDER RELEASING
                                                       DEFENDANT
             Defendant.


      The above-named Defendant, by and through his attorney, Jean Brandl,

respectfully moves this Court for an order denying Plaintiff’s Motion for Review and

Revocation of Order Releasing Defendant. This Memorandum is in response to the

government’s Memorandum of the United States in Support of Motion for Review and

Revocation of Order Releasing Defendant on December 2, 2014 (hereinafter

Government’s December 2 Memorandum). In the interest of judicial economy,

Defendant will try not to repeat the arguments set forth in his Memorandum and Motion to

Uphold the Magistrate Judge’s Order to Release Defendant (hereinafter “Defendant’s

December 2 Memorandum”) filed on December 2, 2014. Defendant respectfully asks

this Court to incorporate the previous memorandum by reference.

                                         ARGUMENT

      The government is struggling mightily to convince this Court that Mr. Yusuf is a

flight risk and a danger to the community. Mr. Yusuf asks this Court to keep in mind that

the government has no more evidence today than it had on May 28, 2014 when he was

released into the community with his valid U.S. passport. The government’s claim that
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Mr. Yusuf must be detained falls flat in light of the fact that he has been out of custody for

the past six months with no attempts to leave and no evidence that he has harmed

anyone, threatened to harm anyone, or supported the actions of anyone who is harming

people. In June of 2014, Mr. Yusuf was aware of the seriousness of the potential

charges against him and he did not attempt to flee. Nothing has changed since May 28,

2014 when the government released Mr. Yusuf and as such he asks this Court not to

detain him.

              Facts the Government Believes are Relevant to Detention

Defendant’s choice not to inform his parents of his whereabouts:

       The government argues that because Mr. Yusuf’s parents did not know he was

going to Turkey nor how he obtained the money for the ticket, that Mr. Yusuf should not be

released to live with them. The government claims that parental supervision was “tried

already, and has failed not once, but twice…” (Government’s December 2

Memorandum, page 6) This is not true. First of all, Mr. Yusuf was never under the

“supervision” of his parents prior to November 26, 2014. In May of 2014 he was an adult

man living with his parents, but he was not under their “supervision.”

       Secondly, he did not “elude” his parents because they were not trying to catch him.

Mr. Yusuf was an adult in May of 2014 and he had no obligation to report his actions or

whereabouts to them. If every defendant facing federal criminal charges were to be

detained solely because they lied to their parents, the jails would be overflowing. There

are dozens of legitimate and lawful reasons Mr. Yusuf could have chosen not to tell his

parents he was traveling to Turkey.

       The government argues Mr. Yusuf’s actions were a “well thought-out, multi-step

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counter-surveillance plan.” The government is stretching to make the situation appear

as nefarious as possible. Mr. Yusuf had no reason to believe his parents were following

him or that he had to somehow “elude” them. He was dropped off at school and then he

left. That was the end of it. Again, Mr. Yusuf had no obligation to notify his parents of

his whereabouts in May of this year. Mr. Yusuf’s parents promised Magistrate Judge

Mayeron they would supervise their son’s release and Mr. Yusuf promised the court to

follow the rules and to be responsible to his parents. On May 28, 2014 there were no

such rules in place and Mr. Yusuf had no legal obligation to inform his parents of his

whereabouts or activities. He does now and there is no evidence to support the

government’s contention that he will not follow the rules as set by the Court.

Value of Electronic Monitoring

       The government argues electronic monitoring will not assure Mr. Yusuf’s

appearance in Court. Mr. Yusuf disagrees. If he were to leave the area or cut off the

monitor, law enforcement would be notified immediately and there would be a widespread

manhunt. His chances of escaping are slim to none. Moreover, if he were planning to

escape, he would have done so in the six months before his arrest or in the past week. H

Surrender of passport

       The government argues Mr. Yusuf can still escape the country without a passport.

While this is certainly true, it is difficult. If Mr. Yusuf were inclined to leave the country, it

would have made much more sense to do so when he was in possession of a valid United

States Passport, which he had had in his possession for the six months prior to his arrest.

Moreover, if he were inclined to leave the country, this would have been a good week to

do it, knowing that the government was appealing his release and that as a result of

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today’s hearing he may be detained.

       Again, the government is desperate to convince this Court to detain Mr. Yusuf.

They continually fail to mention the fact that Mr. Yusuf was out of custody for six months

with absolutely no conditions, during which time he made no attempt to leave. The

government has no information now that they did not have on May 28, 2014 and yet they

are claiming the same person they released on May 28, 2014 must now be detained

despite the six months of model behavior by Mr. Yusuf. The government’s position has

no merit.

Defendant’s alleged statements to the FBI on May 28, 2014

       It is Mr. Yusuf’s contention he did not lie to the FBI on May 28, 2014, and that he

was not given a chance to explain his statements. He understands today’s hearing is not

about clarifying his statements, but he asks this Court to take into consideration that his

statements were true or misunderstood. Should the Court take the FBI agent’s claim at

face value, it is important to keep in mind that the statements were made over six months

ago, at which time the government released Mr. Yusuf into the community. If the

government claims his “lies” on May 289, 2014 are the reason he must be detained, then

it does not make sense that they released him six months ago.

                                Rebuttable Presumption

       The government cites 18 U.S.C. section 3142(e)(3)(C) in support of its contention

that there is a rebuttable presumption of detention in this case. (Government’s

December 2 Memorandum, page 2) Magistrate Judge Mayeron acknowledged that

presumption and released Mr. Yusuf from custody because she found Mr. Yusuf’s

circumstances rebutted the presumption of detention. She ordered a combination of

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conditions which she believed would reasonably assure the appearance of Mr. Yusuf in

court.

         The government argues Mr. Yusuf must be detained because there is no

reasonable assurance he will appear in court, but his appearance in court this afternoon

proves the merit of Magistrate Judge Mayeron’s finding and disproves the government’s

very allegation that he cannot be assured to appear in court.

         Moreover, as stated in the Defendant’s December 2 Memorandum, Mr. Yusuf was

out of custody with an active passport for a full six months prior to his arrest on November

25, 2014. He was released on November 26, 2014 and has been out of custody for

exactly a week without any problems. The presumption of detention has been rebutted

and his appearance in court weighs greater in support of release than detention.

         The government lists the four factors for the presumption of detention pursuant to

section 3142(g)(1), which are (1) the nature and circumstances of the offense charged,

including whether the offense is a crime of violence; (2) the weight of the evidence; (3) the

history and characteristics of the defendant; and ()4) the nature and seriousness of the

danger to any person or the community.

         Looking at the first factor, the government argues the nature and circumstances of

the crime charged are a reason to detain Mr. Yusuf. Interestingly, the government itself

states, “the defendant is a part of a network that is only partially understood by law

enforcement at this time.” (Government’s December 2 Memorandum, page 9). If the

government does not understand the network it alleges Mr. Yusuf is a part of, how can

there be an allegation he is part of something dangerous or violent?

         Carrying this assertion one step further, it is important to note that ISIL was not

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deemed a terrorist organization until May 15, 2014 (after Mr. Yusuf obtained a passport)

and any atrocities by ISIL were not carried out until June of 2014. This Court must take

into consideration that if Mr. Yusuf was leaving the country to work with ISIL (an assertion

that has not been proven at this time) on May 28, 2014, he would have had no way of

knowing its eventual violent tendencies and there would be little evidence to support a

claim that he was heading to Turkey to assist that particular organization in carrying out

violent acts.

       Moreover, if Mr. Yusuf were intent on joining ISIL and was in support of the policies

and actions of ISIL, there would be some sort of evidence showing his support for the

organization. But there is none. There are no emails, phone calls, conversations or

social media posts wherein Mr. Yusuf shows support in any way for terrorist activities or

organizations. The FBI agent testified at the preliminary hearing that he is not aware of

Mr. Yusuf having any contact with anyone involved in any terrorist groups or activities

since May 28, 2014. If Mr. Yusuf supported these actions, ideals, or regimes, there

would be some kind of evidence somewhere. The fact that none of this evidence exists,

and the fact that the government still does not know the nature of ISIL rebuts the

presumption that Mr. Yusuf is involved with violent acts.

       The second factor sets forth that the Court must look at the “weight of the

evidence” to determine whether or not to detain Mr. Yusuf. As stated above, the

evidence in this case is weak at best. Mr. Yusuf was traveling to Turkey and he had a

friend at the time who may have traveled on to Syria. Again, ISIL had been declared a

terrorist group by the State Department for only 13 days at the time Mr. Yusuf was

attempting to fly to Turkey. Even if he did plan to join ISIL (evidence of which does not

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exist) there is no indication he knew it was a terrorist group at that time. Moreover, ISIL

had not committed any violent acts or atrocities on May 28, 2014 when Mr. Yusuf went to

the airport. If there was evidence now that he supported ISIL after the atrocities were

committed, this would be a different situation, but there is no evidence Mr. Yusuf wanted

anything to do with the types of activities ISIL has committed since June of 2014.

       The government wants to gloss over the third factor of 3142(g)(1) regarding Mr.

Yusuf’s history and characteristics. Mr. Yusuf is a young man with no criminal history

who has been out of custody for six months while being aware of the seriousness of the

potential charges against him. He has made no attempt to leave the country and he has

shown no interest in terrorist organizations or views. He was not ordered to bring his

passport to court on November 26, 2014, but he volunteered to have his family bring it to

court for him to turn over to pretrial services to show his intent to remain in the United

States.

       Since May 28, 2014, Mr. Yusuf has led a quiet life. He is enrolled as a college

student and has a job at Best Buy. This is not the behavior of a man planning to leave

the country or planning to harm anyone, this is the behavior of a man planning to set down

roots and stay in the country.

       Finally, the fourth factor requires the Court to look at the danger to other persons or

the community. As stated in Defendant’s December 2 Memorandum, he is not a danger

to anyone. If the government believed him to be a danger to anyone, why was he

released in the community for the past six months?

                                      CONCLUSION

       Abdullahi Yusuf is a quiet young man who is attending college, working at Best

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Buy, and living with his family. He has strong family and community support as

evidenced by the dozens of people who came to his court hearing on November 26, 2014.

Whether or not he intended to support ISIL in May of 2014 remains to be seen, but in light

of the lack of violence by ISIL in May of 2014 and the government’s admitted lack of full

knowledge about the organization, it makes sense to release Mr. Yusuf to the community

while the government decides how to proceed in this case.

       Terrorism is a serious crime and it makes sense in many cases that people with

strong ties to terrorist causes would be placed in custody pending trial. This case is an

exception for three reasons: first, any link between Mr. Yusuf and ISIL is tenuous at

best; second because at the time the government claims Mr. Yusuf wanted to support

ISIL, in May of 2014, ISIL had only been declared a terrorist organization for 13 days and

none of the atrocities had been performed; and third because all of the information

presented to the court in the government’s numerous motions was known to them on May

28, 2014 when Mr. Yusuf was released with his valid U.S. passport.

       There is no indication in any of the documents presented by the prosecution that

anything has changed or that there is any new or negative information gleaned about Mr.

Yusuf since May 28, 2014. If there was new information, this Court can rest assured the

government would have presented it at the hearing on November 26. In fact, the FBI

agent testified that Mr. Yusuf has shown no sign whatsoever in terrorist groups, persons

or ideologies since May 28, 2014. The presumption that Mr. Yusuf must be detained has

been rebutted many times over.

       If this Court is inclined to detain Mr. Yusuf, he asks this Court to delay making a

decision until after reading the entire transcript from the detention hearing and preliminary

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hearing on November 26, 2014. The FBI agent’s testimony is quite elucidating as far as

the lack of “danger” and lack of flight risk presented by Mr. Yusuf.

       Abdullahi Yusuf respectfully requests this Court release him from custody under

the same terms and conditions set forth by Magistrate Judge Mayeron.



                                                 BRANDL LAW, LLC



Dated: December 3, 2014                      By: s/Jean M. Brandl
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